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                                                                    Page 1

  1
  2       UNITED STATES DISTRICT COURT
  3       EASTERN DISTRICT OF NEW YORK
  4       -----------------------------------------X
  5       GOVERNMENT EMPLOYEES INSURANCE COMPANY,
          GEICO INDEMNITY COMPANY, GEICO GENERAL
  6       INSURANCE COMPANY, and GEICO CASUALTY COMPANY,
  7                          Plaintiffs,
  8
  9                   -against-                       Case No.:
                                                      1:20-CV-03495-FB-SJB
 10
 11
          ALEXANDR ZAITSEV, M.D., METROPOLITAN
 12       INTERVENTIONAL MEDICAL SERVICES, P.C.,
          ANTHONY BENEVENGA, CHARLES G. NICOLA, D.C.,
 13       RIDGEWOOD DIAGNOSTIC LABORATORY, L.L.C.,
          TRI-STATE MULTI-SPECIALTY MEDICAL SERVICES, P.C.,
 14       RIVERSIDE MEDICAL SERVICES, P.C., KRISTAPPA
          SANGAVARAM, M.D., ALLAN WEISSMAN, M.D.,
 15       EUGENE GORMAN, M.D., BOGDAN NEGREA, M.D.,
          ANTONIO CICCONE, D.O., STELLA AMANZE, P.A.,
 16       FRIDA ISAKOV, P.A., LUCKNIE OVINCY, P.A.,
          EMILY BAKERMAN, N.P., MELISSA EVANS, N.P.,
 17       MINI MATHEW, N.P., ANGELA PULLOCK, N.P.,
          LINDA SANTA MARIA, N.P., RIVKA WEISS, N.P.,
 18       CROSSTOWN MEDICAL, P.C.,
          and WILLIAM FOCAZIO, M.D.
 19
                             Defendants.
 20       -----------------------------------------X
 21                              October 20, 2021
 22                              10:08 a.m.
 23
 24                  EXAMINATION BEFORE TRIAL OF
 25            DANIEL KANDHOROV.

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                                                                  Page 148

  1                                  D. KANDHOROV
  2                  A         I don't recall that.                I don't
  3            remember.
  4                  Q         Who would know the answer to
  5            that question?
  6                  A         Dr. Zaitsev's accountant,
  7            Mark.
  8                  Q         Let's take a look at the next
  9            transaction that I've highlighted.                      We
 10            are on Exhibit 8, Page 2.                     We are in the
 11            middle of the page.                You see the
 12            transaction that's June 18th, online
 13            transfer to checking 1858?                     Do you see
 14            that?
 15                  A         Yes, I do see that.
 16                  Q         And you see that this one is
 17            for $10,000?
 18                  A         That is right.
 19                  Q         Do you know what that
 20            transaction is for?
 21                  A         I don't recall.
 22                        MR. HENESY:            Let's mark this as
 23                  Exhibit 10.          I will represent Exhibit
 24                  10 is a one-page PDF entitled,
 25                  Business Signature Card.

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                                                                  Page 149

  1                                  D. KANDHOROV
  2                                     (Whereupon, Exhibit 10
  3                                     was marked for
  4                                     identification.)
  5                   Q        Can you see that it says
  6            "Business Signature Card" at the top,
  7            sir?
  8                   A        Sure.        Yes.
  9                   Q        Then on the right-hand side of
 10            the account number is the account that
 11            ends in that 1858 that we just saw,
 12            right?
 13                   A        Yes.
 14                   Q        Then we go to the left and we
 15            see that this account is in the name of a
 16            company called 2598 3rd Avenue, Inc.                       Can
 17            you see that?
 18                   A        Yes, I do.
 19                   Q        Are you familiar with a
 20            company called 2598 3rd Avenue, Inc.?
 21                   A        No.
 22                   Q        Do you have any idea why
 23            Financial Vision Group I would transfer
 24            $10,000 to a company called 2598 3rd
 25            Avenue, Inc.?

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                                                                  Page 150

  1                                  D. KANDHOROV
  2                  A         I don't remember.
  3                  Q         You don't remember or you
  4            don't know?
  5                  A         No.      I don't know.          Probably
  6            Zaitsev and Kaminar knows.
  7                  Q         If we go down to this line
  8            here, do you see where it says Lyubov
  9            Gatilova, and you see that it says
 10            president?
 11                  A         Yes, I see that.
 12                  Q         Do you know that person?
 13                  A         No.
 14                  Q         Do you know that person to be
 15            Dr. Zaitsev's mother-in-law?
 16                  A         I don't know.
 17                  Q         Would it surprise you to know
 18            that it's Dr. Zaitsev's mother-in-law?
 19                  A         If you say, yes.
 20                  Q         Do you have any idea why --
 21                  A         I am surprised, yes.
 22                  Q         Do you have any idea why
 23            Financial Vision Group I would transfer
 24            $10,000 to Dr. Zaitsev's mother-in-law?
 25                  A         Probably we were funding

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                                                                     Page 152

  1                                  D. KANDHOROV
  2            Probably.       I believe so.                 Yes.
  3                  Q         You would expect there to be
  4            documentation concerning an advance
  5            payment made to Dr. Zaitsev's
  6            mother-in-law, right?
  7                  A         Could be verbal, too, because
  8            this is Dr. Zaitsev.                 He is one of the
  9            partners of the company.                      It could be
 10            verbal, too.          I don't recall.                I don't
 11            remember.
 12                  Q         Did Dr. Zaitsev seek
 13            permission from anyone at Financial
 14            Vision Group I to transfer $10,000 to an
 15            account held by his mother-in-law?
 16                  A         Probably he asked permission,
 17            of course.
 18                  Q         Who would he ask permission
 19            from?
 20                  A         From the member.
 21                  Q         Which member?
 22                  A         Members of the company,
 23            Financial Vision I.
 24                  Q         Would he have asked you?
 25                  A         Specifically no, but members,

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  1                                  D. KANDHOROV
  2            yes, all of us.
  3                  Q         Would Dr. Zaitsev have been
  4            permitted to transfer $10,000 to an
  5            account held in his mother-in-law's name
  6            without permission from the other members
  7            of Financial Vision Group I?
  8                  A         I don't think so.             No.
  9                  Q         Let's go back to Exhibit 8.
 10            We are on the last section here.                     This is
 11            June 25th online transfer to checking
 12            8127.     Do you see that?
 13                  A         Yes, I do.
 14                  Q         This is for $8,000.               Do you
 15            see that?
 16                  A         Yes, I do.
 17                  Q         What was that transfer for?
 18                  A         I don't remember.
 19                        MR. HENESY:            Let's take a look at
 20                  Exhibit 11.          Exhibit 11 is a one-page
 21                  PDF that says, "Business Signature
 22                  Card."
 23                                     (Whereupon, Exhibit 11
 24                                     was marked for
 25                                     identification.)

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